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EXHIBIT A
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
IN RE; Misc, No, 08-0442 (TFH)
GUANTANAMO BAY Civil Action No. 0 - C/-/3@0 (2G +)
DETAINEE LITIGATION

MEMORANDUM OF UNDERSTANDING REGARDING ACCESS TO
CLASSIFIED NATIONAL SECURITY INFORMATION

Having familiarized myself with the applicable statutes, regulations, and orders related
to, but not limited to, unauthorized disclosure of classified information, espionage and related
offenses; The Intelligence Identities Protection Act, 50 U.S.C. § 421; 18 U.S.C. § 641; 50
U.S.C. § 783; 28 C.F.R. § 17 et seq.; and Executive Order 12958; I understand that I may be
the recipient of information and documents that belong to the United States and concern the
present and future security of the United States, and that such documents and information
together with the methods and sources of collecting it are classified by the United States
government, In consideration for the disclosure of classified information and documents:

(1) T agree that I shall never divulge, publish, or reveal either by word, conduct or
any other means, such classified documents and information unless specificaily
authorized in writing to do so by an authorized representative of the United
States government, or as expressly authorized by the TS/SCT Protective Order
entered in the United States District Court for the District of Columbia in the
above-captioned case(s).

(2) L agree that this Memorandum of Understanding and any other non-disclosure
agreement signed by me will remain forever binding on me.

(3) [have received, read, and understand the TS/SCI Protective Order entered by

the United States District Court for the District of Columbia in the above-
captioned case(s), and I agree to comply with the provisions thereof.

Dated: @ hey fi yeh

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EXHIBIT B
ACKNOWLEDGMENT

The undersigned hereby acknowledges that he/she has read the TS/SCI Protective
Order first entered on January 7, 2009, in the United States District Court for the District of
Columbia in case numbers 06-cv-1690, 08-cv-1207, 08-cv-1360, and 08-cv-2083, understands
its terms, and agrees to be bound by each of those terms, Specifically, and without limitation,
the undersigned agrees not to use or disclose any protected information or documents made
available to him/her other than as provided by the TS/SCI Protective Order. The undersigned
acknowledges that his/her duties under the TS/SCI Protective Order shall survive the
termination of this case and are permanently binding, and that failure to comply with the terms
of the Protective Order may result in the imposition of sanctions by the Court.

DATED: ofxf uy BY: TEL Syap at er

(type or pri me)

SIGNED: (0 Yop MI

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EXHIBIT C

AFFIRMATION

The undersigned hereby acknowledges that he/she has read the Procedures for Counsel
Access to Detainees at the U.S, Naval Base in Guantanamo Bay, Cuba, in Habeas Cases
Involving TOP SECRET/SENSITIVE COMPARTMENTED INFORMATION first entered
on January 7, 2009, in the United States District Court for the District of Columbia in case
numbers 06-cy-1690, 08-cv-1207, 08-cv-1360, and 08-cv-2083, understands its terms, and
agrees to be bound by each of those terms. The undersigned acknowledges that his/her duties
under the Procedures for Counsel Access to Detainees at the U.S, Naval Base in Guantanamo
Bay, Cuba, in Habeas Cases Involving TOP SECRET/SENSITIVE COMPARTMENTED
INFORMATION shall survive the termination of this case and are permanently binding, and
that failure to comply with the terms of the Procedures for Counsel Access to Detainees at the
U.S. Naval Base in Guantanamo Bay, Cuba, in Habeas Cases Involving TOP
SECRET/SENSITIVE COMPARTMENTED INFORMATION may result in revocation of
counsel’s security clearance, suspension or termination of counsel’s access to the U.S, Naval
Base in Guantanamo Bay, Cuba, and/or the imposition of sanctions by the Court.

DATED: o/s[ BY: __ “foe. Fi Veapb hy

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